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                              UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                    PORTLAND DIVISION

INDEX NEWSPAPERS LLC, a Washington            Case No. 3:20-cv-1035-SI
limited-liability company, dba PORTLAND
MERCURY; DOUG BROWN; BRIAN
CONLEY; SAM GEHRKE; MATHIEU                   PLAINTIFFS’ MOTION TO STRIKE
                                              DECLARATION OF CHRIS BISHOP
LEWIS-ROLLAND; KAT MAHONEY;
SERGIO OLMOS; JOHN RUDOFF;
ALEX MILAN TRACY; TUCK
WOODSTOCK; JUSTIN YAU; and those
similarly situated,
                Plaintiffs,
       v.
CITY OF PORTLAND, a municipal
corporation; JOHN DOES 1-60, officers of
Portland Police Bureau and other agencies
working in concert; U.S. DEPARTMENT OF
HOMELAND SECURITY; and U.S.
MARSHALS SERVICE,
                Defendants.


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       Plaintiffs respectfully submit this motion to strike the declaration of Chris A. Bishop

submitted by the federal agents on August 18, 2020.

                                       INTRODUCTION

       After the hearing on Plaintiffs’ motion for a preliminary injunction, the federal agents

submitted a declaration by one of their employees purporting to rebut the expert declaration of

Gil Kerlikowske. They made no effort to file this supposed rebuttal with their Opposition. They

made no effort to depose Mr. Kerlikowske. They did not ask to extend the TRO and compressed

briefing schedule they forced upon Plaintiffs so that they could have more time to prepare a

rebuttal report or depose Mr. Kerlikowske. When they filed the declaration, they had been in

possession of Mr. Kerlikowske’s declaration for nine days, virtually an eternity given the highly

compacted scheduling they demanded.

       At oral argument yesterday, the federal agents represented that they were making this

untimely filing because they did not understand Mr. Kerlikowske’s expert declaration to be such.

This makes little sense. Mr. Kerlikowske’s declaration plainly states the opinions he was asked to

render, then lists them as Opinions No. 1 through 4, then details the bases for his opinions.

(Dkt. 135 ¶ 4.) The federal agents simply decided that it was more advantageous to submit this

declaration—from a party under their control—after the motion for a preliminary injunction was

argued and submitted to the Court, so that Plaintiffs would have no ability to depose their witness

or prepare a rebuttal report. That tactic is obviously unfair; it violates the Court’s Scheduling

Order (Dkt. 126), which established the briefing schedule for the motion; and it is part of the

federal agents’ broader pattern of withholding evidence and trying to run out the discovery clock.

For those reasons alone, it should be stricken.

       In addition, the federal agents’ declaration should be stricken because the declarant, Chris

A. Bishop, is not an expert and does not rebut Mr. Kerlikowske’s opinions. Unable to find an

actual expert to disagree with Mr. Kerlikowske, the federal agents rely on an illegal “Acting




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Director/Deputy Director” of CBP’s Law Enforcement Safety and Compliance Directorate, 1 who

admittedly knows nothing about most of the topics in Mr. Kerlikowske’s expert declaration.

(Declaration of Chris Bishop (“Bishop Decl.”), Dkt. 152 ¶ 3.) His opinions, such as they are, are

mainly lawyer argument unburdened by reliance on the record. At the same time, he relies

exclusively on documents that the federal agents did not produce in discovery and still do not

attach to the Bishop declaration, preventing Plaintiffs from assessing and responding to them in

this brief.

        For all of these separate reasons, his declaration should be stricken.
                                          ARGUMENT

I.      THE BISHOP DECLARATION VIOLATES THE COURT’S SCHEDULING
        ORDER AND IS AN UNFAIR EFFORT TO SANDBAG PLAITNIFFS
        The Court’s August 6 scheduling order states: “(1) Plaintiffs’ opening brief is due by

August 9, 2020; (2) Defendants’ response is due by August 12, 2020; (3) Plaintiffs’ reply is due

by 5:00 p.m. on August 14, 2020.” (Dkt. 126.) Because the federal agents would not stipulate to

extend the TRO and agree to a reasonable briefing schedule that enabled Plaintiffs to take the

Court-ordered discovery in support of their motion for a preliminary injunction, Plaintiffs had

but three days to prepare their briefing. Despite the tight time frame, Plaintiffs adhered to the

Court-ordered schedule. The federal agents did not.

        District courts have broad discretion to “supervis[e] the pretrial phase of litigation, and

[their] decisions regarding the preclusive effect of a pretrial order will not be disturbed unless

they evidence a clear abuse of discretion.” United States v. Dang, 488 F.3d 1135, 1143 (9th Cir.

2007) (quotation marks and alteration omitted). Failure to abide by a scheduling order can

expose a party to sanctions, including evidentiary sanctions. Grove City Veterinary Serv., LLC v.

1
 See Legality of Service of Acting Secretary of Homeland Security and Service of Senior Official
Performing the Duties of Deputy Secretary of Homeland Security, U.S. Government
Accountability Office (Aug. 14, 2020) (concluding that under the Federal Vacancy Reform Act,
Chad Wolf and Ken Cuccinelli were illegally appointed to their positions because the official
who purported to appoint them lacked power to do so), available at
https://www.gao.gov/assets/710/708830.pdf.


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Charter Practices, Int’l LLC, No. 3:13-CV-2276-AC, 2016 WL 1573830, at *4 (D. Or. Apr. 19,

2016) (citing Fed. R. Civ. P. 16(f)(1)(C)); Fed. R. Civ. P. 37(b)(2)(A)(ii). In particular, a district

court may “strike . . . late-submitted evidence for failure to comply with a scheduling order.”

Cusano v. Klein, 264 F.3d 936, 951 (9th Cir. 2001); see also Xiong v. Veneman, 2005 WL

3557176, at *4 (E.D. Cal. Dec. 22, 2005) (“If the Court were to allow unlimited filings in the

manner apparently sought by [the federal agents], the Court could never be sufficiently certain of

the parties’ positions to be able to rule on a motion presented to it.”). Defendants’ abject failure

to abide by the scheduling order is by itself sufficient reason to strike Mr. Bishop’s declaration

from the record.

        The Court should separately strike Mr. Bishop’s declaration because it is fundamentally

unfair. A party “should not be permitted to ‘sandbag’ its adversary by raising entirely new but

foreseeable points relevant to the motion” on the day of the hearing—and especially after the

hearing. Alpine Bank v. Hubbell, 2007 WL 219121, at *3 (D. Colo. Jan. 26, 2007) (quotation

marks and alterations omitted). The federal agents have been aware of Mr. Kerlikowske’s

declaration since August 9. In the nine days between August 9 and today, the federal agents did

not seek to depose Mr. Kerlikowske, even though the Court authorized expedited discovery. Nor

did they file Mr. Bishop’s declaration with their opposition on August 12. Nor can they have had
any good reason for failing to do so, for Mr. Bishop is not some independent expert for whom the

federal agents had to hunt and with whom they had to negotiate. He is a DHS employee, just like

Allen Scott Jones, Agent CBP SOG-1, Brian Acuna, David Olson, Jeffrey Perry, and Agent CBP

SOD-1. The federal agents could have submitted Mr. Bishop’s declaration at the same time as

their opposition brief, just as they did with the declarations of their other employees. (Cf. Dkts.

138-1 to 138-7.) Instead, they chose to sandbag Plaintiffs with a witness whom Plaintiffs cannot

depose or rebut, and who, as discussed below, relies on materials the federal agents neither

produced in discovery nor filed with the Court. Because it would be unfair to allow the federal

agents to lie in the weeds in this manner, this is a separate reason the Bishop declaration should

be stricken.


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II.    MR. BISHOP IS NOT AN EXPERT AND DOES NOT REBUT MR.
       KERLIKOWSKE’S EXPERT TESTIMONY
       The Court should strike Mr. Bishop’s declaration on the separate grounds that (1) he is

not an expert, (2) he exclusively relies on documents that the federal agents refused to produce

and still do not attach to the declaration and (3) he does not rebut Mr. Kerlikowske’s testimony.

       A.      Mr. Bishop Is Not an Expert
       Expert testimony must be both relevant and reliable. Chong v. STL Int’l, Inc., No. 3:14-

CV-244-SI, 2016 WL 4253959, at *1 (D. Or. Aug. 10, 2016). An expert’s testimony is not

reliable if it lacks “a reliable basis in the knowledge and experience of the relevant discipline.”

Id. (quoting City of Pomona v. SQM N. Am. Corp., 750 F.3d 1036, 1043-44 (9th Cir. 2014)).

Similarly, an opinion based on “unsubstantiated and undocumented information” is the

“antithesis” of an admissible expert opinion.” Id. at *2 (quoting Cabrera v. Cordis Corp., 134

F.3d 1418, 1423 (9th Cir. 1998)). Thus, courts strike expert opinions if they are not “[]adequately

supported in the record.” Id.

       Mr. Bishop is not an expert. He purports to be the “Acting Director/Deputy Director” of

CBP’s “Law Enforcement Safety and Compliance Directorate (LESC).” (Bishop Decl. ¶ 3.) But

he does not explain whether he has any training and experience to testify as an expert, as

opposed to simply as a lifelong CPB employee who was illegally appointed to his “acting”
position after serving in sundry positions under Mr. Kerlikowske and others. (Compare Bishop

Decl. ¶ 3, with Kerlikowske Decl. ¶¶ 1-3, and Kerlikowske Reply Decl. ¶¶ 1-5.) He does not

claim to have any expertise in civil unrest, much less crowd control in the context of such

disturbances, much less that he has the degree of experience in policing demonstrations

necessary to criticize his former commanding officer. He does not explain what knowledge or

experience he has of police training and use of force in the context of protests and the First

Amendment, let alone why his testimony has a “reliable basis” in such knowledge or experience.

That alone is sufficient reason to strike his testimony. Cf. Chong, 2016 WL 4253959, at *1.

       Because he does not claim to have any expertise in crowd control or use of force in the

context of civil disturbances, civil unrest, or demonstrations similar to those taking place in


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Portland, Mr. Bishop’s views on these topics are not expert opinions. Accordingly, paragraphs

12-18, 22-23 and 25 of the Bishop declaration should be struck because they relate to crowd

control and use of force in the context of protests—something Mr. Bishop does not even claim to

know anything about.

       B.      Mr. Bishop Did Not Review Anything Other than Mr. Kerlikowske’s
               Declaration and Documents the Federal Agents Refused to Produce
       In addition to Mr. Bishop’s lack of expertise, he did not review any of the evidence in the

record and purports to support his opinions entirely with evidence that the federal agents refused

to produce during discovery, even though it was responsive to Plaintiffs’ document requests.

Because Mr. Bishop’s opinions rely on information not in the record and ignore information that

is in the record, they are not based on “objective, verifiable evidence”; they are “speculative and

unreliable.” See Chong, 2016 WL 4253959, at *10. This is a separate and independent reason

why much of the declaration should be struck.

       Mr. Bishop did not review any of the journalist and legal observer declarations in the

record, the video evidence, the deposition testimony, or the pleadings. (Compare Bishop Decl.

¶ 2, with Kerlikowske Decl. ¶ 5.) He did not review any of the discovery responses from the

federal agents. (Bishop Decl. ¶ 2.) He also did not review any of Plaintiffs’ discovery responses.

(Id.; cf., e.g., Declaration of Matthew Borden (“Borden Decl.”), Exs. 1-2.)2
       At the same time, Mr. Bishop relies on unspecified use-of-force reports from CBP’s “E-

STAR” tracking system that the federal agents did not produce. (Bishop Decl. ¶¶ 4, 14; cf.

Borden Decl., Ex. 3 at RFP No. 16 (seeking “[a]ll documents related to any studies or

investigations that you have started, conducted, or completed related to any incidents in which

journalists or legal observers have been allegedly assaulted or harmed”).) Mr. Bishop also refers

2
  After waiting 18 days without serving any discovery, the federal agents propounded
interrogatories on Plaintiffs just two days before their Opposition was due to try to create a
process where they could make a supplemental submission to the Court after the briefing was
completed. Plaintiffs expended considerable efforts providing almost instant responses so that
the federal agents had them in time to include them in their Opposition. Then the federal agents
never used any of the responses anyway. (Borden Decl. ¶ 5.)


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to CBP’s “Use of Force Policy, Guidelines and Procedures Handbook.” (Bishop Decl. ¶ 5.) But

the federal agents believed that this document was so irrelevant that they did not produce it

either. (Cf. Borden Decl., Ex. 3 at RFP No. 13 (requiring the federal defendants to produce “[a]ll

documents and communications . . . related to any training, techniques, policies, or procedures

related to the use of force in response to threats to federal property”).) Mr. Bishop does not even

attach any of these materials to his declaration so that Plaintiffs could evaluate them in the

context of filing this motion. It is thus doubly unfair for the federal agents to attempt to submit

the Bishop declaration, and paragraphs 4-6, 8-16, 20-21, 23, and 25, which rely on materials that

the federal agents refused to produce, should be struck for this reason.

        C.     The Bishop Declaration Does Not Rebut Mr. Kerlikowske’s Expert
               Testimony
        Many of the conclusions in the Bishop declaration do not rebut Mr. Kerlikowske’s expert

opinions and should be struck for this separate and independent reason as well.

        For example, Mr. Bishop engages in a lengthy discussion about CBP’s use of force policy

that Mr. Kerlikowske promulgated when Mr. Bishop was Mr. Kerlikowske’s low-level employee.

(Bishop Decl. ¶¶ 5-6, 8-13, 15, 20-21, 23, 25.) But he does not explain that this policy is focused

on individual Border Patrol and CBP personnel acting in mainly in an individual capacity in the

context of preventing border entry. (Kerlikowske Decl. ¶ 26.) The reason why the federal agents
apparently withheld this document in discovery is that it has nothing to do with the training and

use of force required to effectively—and constitutionally—police a demonstration, where the

majority of the participants are exercising their constitutional rights under the First Amendment.

(Id. ¶ 25.)

        Nor does Mr. Bishop rebut Mr. Kerlikowske’s extensive expert testimony that the

repeated violence that the federal agents inflicted on journalist and legal observers was

unnecessary and excessive. (Id. ¶¶ 30-41.) Mr. Bishop simply states circumstances where he

believes CBP policy allows force. He does not offer any opinion contrary to Mr. Kerlikowske’s




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expert opinion that the force federal agents used in virtually all the instances in the record were

“undisciplined, unwarranted and unnecessary.” (Id.)

        The Bishop declaration also states that CBP officers must be trained on less-lethal

munitions—which, as Mr. Kerlikowske explained, was a policy he initiated to reduce CBP’s use

of force. (Bishop Decl. ¶ 9; Kerlikowske Supp. Decl., Dkt. 145 ¶ 2.) But the Bishop declaration

offers nothing to rebut Mr. Kerlikowske’s expert opinion that such training did not cover the use

of force in the context of protests and civil disturbances. (E.g., Kerlikowske Decl. ¶¶ 22-26.) Nor

does he, or can he, rebut Mr. Kerlikowske’s expert opinion that widely distributing less-lethal

weapons in a platoon environment, especially when none of the individuals is trained for use of

force in the contexts of protests, is dangerous and unwarranted. (Id. ¶¶ 25, 28.)

        Similarly, Mr. Bishop concludes that “officers/agents may need to make . . . split-second

decisions.” (Bishop Decl. ¶ 12.) But that does not contradict Mr. Kerlikowski’s declaration.

Mr. Kerlikowske never opined that officers would not need to make split-second decisions—only

that in doing so, they are still capable of distinguishing journalists and legal observers from

protesters using the indicia in the TRO. (Kerlikowske Decl. ¶ 9.) Mr. Kerlikowske also offers the

related expert opinion that allowing individual decision making in a crowd control or civil unrest

environment, rather than policing in a unit under a unitary command, demonstrates poor
planning and poor leadership. (E.g., Kerlikowske Decl. ¶¶ 22, 29.) Mr. Bishop does not rebut this

point either.

        Mr. Bishop also argues against Mr. Kerlikowske’s supposed conclusion that federal

agents should “trust that criminal activities during the Portland protests will be limited to

harmless non-violent activities,” but Mr. Bishop cites no paragraph of Mr. Kerlikowske’s expert

declarations expressing such an opinion because Mr. Kerlikowske has never offered any expert

opinion of the sort. (Bishop Decl. ¶ 14.)

        For a final example, Mr. Bishop argues about various risk control measures the federal

agents may or may not have taken, none of which address the situation of press and legal

observers going beyond skirmish lines. (Bishop Decl. ¶ 18.) This does not contradict Mr.


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Kerlikowske’s opinion that the federal agents would take risk control measures if they perceived

a threat from press and legal observers doing so. (Kerlikowske Decl. ¶ 18.)

                                       CONCLUSION

       For each of the foregoing reasons, the Bishop declaration should be struck.

Dated: August 19, 2020                              Respectfully Submitted,


                                                    By: /s/ Matthew Borden
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